        Case 5:18-cv-01111-AKK Document 34 Filed 05/01/19 Page 1 of 14                      FILED
                                                                                   2019 May-01 AM 10:40
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHEASTERN DIVISION

AMBER SMITH,                                  )
                                              )
      Plaintiff,                              )
                                              )
v.                                            )   Civil Action Number
                                              )   5:18-cv-01111-AKK
RACHELLE E. MORGAN, et al.,                   )
                                              )
      Defendants.                             )



                   MEMORANDUM OPINION AND ORDER

      Amber Smith brings this action against Rachelle E. Morgan a.k.a. Rachelle

Wilson, Center Hill Enterprises, LLC, and Lewis & Raulerson, Inc. for violations

of Title III of the Americans with Disabilities Act (ADA), 42 U.S.C. § 12181 et

seq., and related state law tort claims. See docs. 1, 26. Wilson and Center Hill have

jointly moved to dismiss the ADA claims pursuant to Federal Rule of Civil

Procedure 12(b)(1) for lack of subject matter jurisdiction. Doc. 17. The motion,

which is fully briefed and ripe for review, docs. 17, 18, 31, 33, is due to be denied.

      I. STANDARD OF REVIEW

      A 12(b)(1) challenge for lack of subject matter jurisdiction may take the

form of a facial or factual attack on the complaint. See McElmurray v. Consol.

Gov’t of Augusta-Richmond Cty., 501 F.3d 1244, 1251 (11th Cir. 2007). A facial



                                          1
         Case 5:18-cv-01111-AKK Document 34 Filed 05/01/19 Page 2 of 14



attack “‘require[s] the court merely to look and see if [the] plaintiff has sufficiently

alleged a basis of subject matter jurisdiction’ taking ‘the allegations in [her]

complaint . . . as true.’” Id. (quoting Lawrence v. Dunbar, 919 F.2d 1525, 1529

(11th Cir. 1990)). On the other hand, a factual attack challenges “‘the existence of

subject matter jurisdiction in fact, irrespective of the pleadings, and matters outside

the pleadings . . . are considered.’” Id. (quoting Lawrence, 919 F.2d at 1529).

“[W]hen a defendant properly [raises a factual] challenge[ ] . . . ‘no presumptive

truthfulness attaches to plaintiff’s allegations, and the existence of disputed

material facts will not preclude the trial court from evaluating for itself the merits

of the jurisdictional issue.’” Morrison v. Amway Corp., 323 F.3d 920, 925 (11th

Cir. 2003) (quoting Lawrence, 919 F.2d at 1529). In a factual attack on subject

matter jurisdiction, “[t]he district court has the power to dismiss for lack of subject

matter jurisdiction on any of three separate bases: (1) the complaint alone; (2) the

complaint supplemented by undisputed facts evidenced in the record; or (3) the

complaint supplemented by undisputed facts plus the court’s resolution of disputed

facts.” Williamson v. Tucker, 645 F.2d 404, 413 (5th Cir. 1981). 1

       However, a district court “should only rely on Rule 12(b)(1) ‘if the facts

necessary to sustain jurisdiction do not implicate the merits of plaintiff’s cause of


1
 Decisions of the former Fifth Circuit rendered before October 1, 1981 are binding as precedent
in the Eleventh Circuit. See Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en
banc).


                                               2
        Case 5:18-cv-01111-AKK Document 34 Filed 05/01/19 Page 3 of 14



action.’” Morrison, 323 F.3d at 925 (quoting Garcia v. Copenhaver, Bell &

Associates, 104 F.3d 1256, 1261 (11th Cir. 1997)) (emphasis in original). “When

the jurisdictional basis of a claim is intertwined with the merits, the district court

should apply a Rule 56 summary judgment standard when ruling on a motion to

dismiss which asserts a factual attack on subject matter jurisdiction.” Lawrence,

919 F.2d at 1530. In other words, “the proper course of action for the district court

. . . is to find that jurisdiction exists and deal with the objection as a direct attack on

the merits of the plaintiff’s case.” Morrison, 323 F.3d at 925 (quoting Williamson,

645 F.2d at 413).

      II. BACKGROUND

      This action arises out of an incident that occurred when Amber Smith, her

husband, Chad Smith, and their two daughters visited an Exxon gas station and

convenience store in Hanceville, Alabama that is operated by Center Hill

Enterprises, LLC. Doc. 1 ¶¶ 6, 8, 13. Mrs. Smith is deaf and has a service dog,

Sassy, that assists her with daily activities. Doc. 1 ¶ 3. On the day the Smiths and

Sassy stopped at the Hanceville Exxon, Ashleigh Chaffin, a member of Center Hill

Enterprises who works at the store, informed the Smiths that Sassy was not

permitted in the convenience store. Docs. 1 ¶¶ 13-14; 31-1 ¶¶ 3-5 (Chad Smith




                                            3
        Case 5:18-cv-01111-AKK Document 34 Filed 05/01/19 Page 4 of 14



Aff.); 17-2 ¶ 4 (Ashleigh Chaffin Decl.).2 When Mr. Smith explained that Mrs.

Smith was deaf and that Sassy was her service animal, Chaffin requested proof.

Docs. 1 ¶¶ 15-17; 31-1 ¶¶ 5-7; 17-2 ¶ 4. After Mr. Smith lawfully refused to

provide such proof, Chaffin called the police. Docs. 1 ¶ 20; 31-1 ¶¶ 6-10; 17-2 ¶ 4.

Allegedly, at this time, Chaffin did not allow the Smiths to purchase items from the

store, did not permit Mrs. Smith to walk around the store with Sassy, and

demanded that the Smiths leave. Docs. 1 ¶¶ 16-20; 31-1 ¶¶ 6-10.

       Subsequently, three Hanceville police officers, including Chief Bob Long,

responded to the store. Docs. 1 ¶ 22; 31-1 ¶ 12; 17-2 ¶ 5. Rachelle Wilson, a

Center Hill manager, also arrived at the store at some point after the police

officers. Doc. 17-1 ¶¶ 3-5. The officers requested proof from Mr. Smith that Sassy

was a service animal, 3 docs. 1 ¶ 23; 31-1 ¶¶ 12-14, which Mr. Smith eventually

provided, docs. 1 at 7; 31-1 ¶ 15. Despite the proof, the officers and either Chaffin

or Wilson allegedly instructed Mr. Smith to tell Mrs. Smith “to stand at the

2
  Rachelle Wilson, a manager and member of Center Hill Enterprises, was not present for the
initial encounter. Doc. 17-1 ¶ 3 (Rachelle Wilson Decl.). Although the complaint and Mr.
Smith’s affidavit refer to a “store manager,” Chaffin’s affidavit clarifies that she, rather than
Wilson, was the employee who stopped and questioned the Smiths and, therefore, is the “store
manager” referenced in the complaint and in Mr. Smith’s affidavit. See docs. 1 ¶¶ 14-23; 31-1 ¶¶
4-11; 17-1 ¶¶ 3-4; 17-2 ¶¶ 3-6.
3
  The parties dispute what Chief Long told the parties regarding the legality of the Defendants’
requests for service animal documentation. The Smiths contend that Chief Long asserted that the
Hanceville City Attorney had informed him, over the phone, that both the police and the
Defendants could request proof that Sassy was a service animal. Doc. 31-1 ¶ 14. However,
Chaffin and Wilson assert that Chief Long, after speaking with the City Attorney, stated that
store employees could not ask for proof. Docs. 17-1 ¶ 5 (Rachelle Wilson Decl.); 17-2 ¶ 5.



                                               4
        Case 5:18-cv-01111-AKK Document 34 Filed 05/01/19 Page 5 of 14



entrance with Sassy and not move[.]” Docs. 1 ¶ 27; 31-1 ¶¶ 17-18. Ultimately, Mr.

Smith paid for food and drinks and the Smiths left. Docs. 1 ¶ 30; 31-1 ¶¶ 17-18.

Mrs. Smith has since filed the present action seeking, in part, injunctive relief and

attorney’s fees for alleged violations of Title III of the ADA. See doc. 1 at 31.

      According to Wilson and Chaffin, Wilson convened the store’s employees

immediately following the incident and explained that they could not ask for proof

that an individual’s animal is a service animal. Docs. 17-1 ¶ 7; 17-2 ¶ 7.

Subsequently, Wilson also printed and distributed to her employees a bulletin from

the Department of Justice’s website that explains the ADA’s service animal-related

requirements, including that “businesses . . . that serve the public generally must

allow service animals to accompany people with disabilities in all areas of the

facility where the public is normally allowed to go.” Doc. 17-1 at 5, 11. In

addition, after Mrs. Smith filed this lawsuit, Wilson posted a sign in the front

window of the store that states, “Notice: Service Animals Welcome.” Docs. 17-1 at

5, 8; 17-2 ¶ 9. Finally, Wilson and Chaffin aver that, since the Smiths’ visit, the

store’s practice is to permit service animals without asking for documentation, and

no employees have asked any questions about service animals or excluded any

animal from the store. Docs. 17-1 ¶¶ 8-10; 17-2 ¶¶ 8-9. Wilson asserts that if the

Smiths were to return with a service animal, “they would be permitted in the store

and served without any issues.” Doc. 17-1 ¶ 8.



                                          5
           Case 5:18-cv-01111-AKK Document 34 Filed 05/01/19 Page 6 of 14



          III. ANALYSIS

          A. Whether the Court Should Analyze the Defendants’ Motion Under
             Federal Rule of Civil Procedure 12(b)(1) or 56

          As an initial matter, the court must determine whether the motion to dismiss

“implicate[s] the merits of [Mrs. Smith’s] cause of action” and, therefore, should

be converted to a motion for summary judgment under Rule 56. Morrison, 323

F.3d at 925. In her complaint, Mrs. Smith alleges that the Defendants, who own

and operate a place of public accommodation, discriminated against her on the

basis of her disability in violation of 42 U.S.C. § 12182. 4 See doc. 1. Allegedly, the

Defendants: (1) improperly inquired about her disability, demanded proof of a

service animal, and excluded Mrs. Smith from the convenience store and areas

within the store where customers without disabilities were permitted in violation of

28 C.F.R. § 32.302(c)(1), (3), (6)-(7); 5 (2) failed to make reasonable modifications

4
  A prima facie case under Title III requires a plaintiff to show that “(1) [she] is a disabled
individual; (2) the defendants own, lease, or operate a place of public accommodation; and (3)
the defendants discriminated against the plaintiff within the meaning of the ADA.” Norkunas v.
Seahorse NB, LLC, 444 F. App’x 412, 416 (11th Cir. 2011) (citing 42 U.S.C. § 12182(a)).
5
    The relevant provisions of 28 C.F.R. § 36.302(c) state, in part:
          (c) Service animals—
          (1) General. Generally, a public accommodation shall modify policies, practices, or
          procedures to permit the use of a service animal by an individual with a disability. . . .
          (6) Inquiries. A public accommodation shall not ask about the nature or extent of a
          person’s disability, but may make two inquiries to determine whether an animal qualifies
          as a service animal. . . . A public accommodation shall not require documentation, such
          as proof that the animal has been certified, trained, or licensed as a service animal. . . .
          (7) Access to areas of a public accommodation. Individuals with disabilities shall be
          permitted to be accompanied by their service animals in all areas . . . where members of
          the public . . . are allowed to go.


                                                   6
           Case 5:18-cv-01111-AKK Document 34 Filed 05/01/19 Page 7 of 14



in their policies, practices, and procedures to provide Mrs. Smith and individuals

with disabilities equal access to the store in violation of 42 U.S.C. §

12182(b)(2)(A)(ii); 6 and (3) denied Mrs. Smith “full and equal enjoyment” of the

store in violation of 42 U.S.C. § 12182(a). 7 See docs. 1 at 5-24; 31 at 7-8. For

these alleged violations, Mrs. Smith seeks an order directing the Defendants to: (a)

modify their policies and practices to comply with the ADA’s requirements for the

treatment of individuals with disabilities who have service animals, and (b) provide

Mrs. Smith “full and equal use and access” to the gas station and convenience

store. Doc. 1 at 31.

          The Defendants assert that Mrs. Smith’s claims for injunctive relief and

attorney’s fees are moot because, following the discriminatory incident in question,

they “immediately modified their practices to comply with ADA requirements for

service animals and have consistently complied with those requirements.” Doc. 18

at 2; see docs. 17-1; 17-2. Because the Defendants rely on witness declarations

outside of the pleadings to support their contentions, their motion is properly
6
    42 U.S.C. § 12182(b)(2)(A)(ii) provides that “discrimination” under Title III includes:
         [A] failure to make reasonable modifications in policies, practices, or procedures, when
         such modifications are necessary to afford such goods, services, facilities, privileges,
         advantages, or accommodations to individuals with disabilities, unless the entity can
         demonstrate that making such modifications would fundamentally alter the nature of such
         goods, services, facilities, privileges, advantages, or accommodations[.]
7
    42 U.S.C. § 12182(a) states:
         No individual shall be discriminated against on the basis of disability in the full and equal
         enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of
         any place of public accommodation by any person who owns, leases (or leases to), or
         operates a place of public accommodation.


                                                   7
       Case 5:18-cv-01111-AKK Document 34 Filed 05/01/19 Page 8 of 14



characterized as a factual, rather than a facial, challenge to subject matter

jurisdiction. See McElmurray, 501 F.3d at 1251. Furthermore, because the

Defendants challenge the claims on mootness grounds solely, this motion does not

implicate the merits of Mrs. Smith’s cause of action. See Sheely v. MRI Radiology

Network, P.A., 505 F.3d 1173, 1182 (11th Cir. 2007) (“[W]hen a district court

disposes of a case on justiciability (mootness) grounds we will treat the district

court’s determination as if it was ruling on a motion to dismiss for lack of subject

matter jurisdiction under Fed. R. Civ. P. 12(b)(1)[.]”); Myrick v. United States

Dep't of Veterans Affairs, No. 2:16CV555-MHT-WC, 2017 WL 1074362, at *6

(M.D. Ala. Mar. 1, 2017) (finding that defendant’s motion to dismiss, which

contended that plaintiff’s Bivens claim was moot, did not implicate the merits of

plaintiff’s claim). Accordingly, the court will analyze the motion as a factual

attack, considering both the complaint and the evidence in the record. See

Williamson, 645 F.2d at 413.

      B. Whether the ADA Claims are Moot

       “The doctrine of mootness derives directly from the case-or-controversy

limitation because an action that is moot cannot be characterized as an active case

or controversy.” Troiano v. Supervisor of Elections in Palm Beach Cty., Fla., 382

F.3d 1276, 1282 (11th Cir. 2004). “[A] case is moot when it no longer presents a

live controversy with respect to which the court can give meaningful relief.” Id.



                                         8
        Case 5:18-cv-01111-AKK Document 34 Filed 05/01/19 Page 9 of 14



However, “voluntary cessation of a challenged practice does not deprive a federal

court of its power to determine the legality of the practice. If it did, the courts

would be compelled to leave the defendant free to return to his old ways.” Friends

of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 189 (2000).

Accordingly, “the standard . . . for determining whether a case has been mooted by

the defendant’s voluntary conduct is stringent: A case might become moot if

subsequent     events   made   it absolutely   clear that   the   allegedly wrongful

behavior could not reasonably be expected to recur.” Friends of the Earth, Inc. v.

Laidlaw Envt’l Servs. (TOC), Inc., 528 U.S. 167, 170 (2000). The “formidable,”

“heavy burden of persuading the court that the challenged conduct cannot

reasonably be expected to start up again lies with the party asserting mootness.” Id.

at 190, 189.

      “[I]n determining mootness where a private defendant has voluntarily ceased

the conduct at issue,” courts consider three factors:

      (1) whether the challenged conduct was isolated or unintentional, as
      opposed to a continuing and deliberate practice; (2) whether the
      defendant’s cessation of the offending conduct was motivated by a
      genuine change of heart or timed to anticipate suit; and (3) whether, in
      ceasing the conduct, the defendant has acknowledged liability.

Sheely, 505 F.3d at 1184. The Defendants contend that they satisfy each of the

Sheely factors. The court disagrees based on the allegations in Mrs. Smith’s

complaint.



                                          9
       Case 5:18-cv-01111-AKK Document 34 Filed 05/01/19 Page 10 of 14



             1. Whether the Challenged Conduct Was Isolated

      “[C]ourts are more likely to find that the challenged behavior is not

reasonably likely to recur where it constituted an isolated incident, was

unintentional, or was at least engaged in reluctantly.” Sheely, 505 F.3d at 1184.

Here, Mrs. Smith has not alleged or offered any evidence that she or other disabled

individuals with service animals were previously excluded or otherwise

discriminated against by the Defendants. See docs. 1; 31-1. Moreover, Wilson’s

efforts after the incident to educate her employees about proper practices

concerning service animals suggest that the Defendants’ allegedly discriminatory

conduct is not a “continuing and deliberate” practice. Cf. Sheely, 505 F.3d at 1185

(rejecting mootness contention where defendant’s conduct was “the result of a

years-long policy . . . enforced on multiple occasions”). And there is no evidence

before the court that, after this one incident, the Defendants subsequently barred or

required other individuals with service animals to provide documentation. On their

own, these facts would generally satisfy the first factor. However, two things

preclude the court from making such a finding at this juncture. First, Mrs. Smith

maintains in her complaint that, even after Mr. Smith provided the service animal

documentation, either Chaffin or Wilson allegedly demanded that Mrs. Smith

“stand at the entrance [of the store] with Sassy and not move” while Mr. Smith

made his purchase. Docs. 31-1 ¶ 17; 1 ¶ 27. If true, this may undermine the



                                         10
       Case 5:18-cv-01111-AKK Document 34 Filed 05/01/19 Page 11 of 14



Defendants’ assurances that their discriminatory conduct is unlikely to recur.

Second, as Mrs. Smith notes, she has not yet had an opportunity to conduct

discovery as to whether the Defendants have demanded service animal

documentation from customers or excluded disabled individuals with service

animals from their store on other occasions. See doc. 31 at 13. Indeed, “some

courts have refused to grant such a motion [to dismiss for lack of jurisdiction]

before a plaintiff has had a chance to discover the facts necessary to establish

jurisdiction.” Williamson, 645 F.2d at 414. In light of the dispute regarding what

transpired after Mr. Smith provided the documentation, and because discovery and

a hearing would aid the court, the court finds that limited discovery is needed to

ascertain whether the Defendants satisfy the first factor of the analysis.

             2. Whether the Defendants Had a Genuine Change of Heart

      In determining whether defendants’ cessation is motivated by a “genuine

change of heart” rather than timed to avoid liability, courts consider when the

defendants ceased engaging in the challenged conduct. Sheely, F.3d at 1186; see,

e.g., Coral Springs St. Sys., Inc. v. City of Sunrise, 371 F.3d 1320, 1333 (11th Cir.

2004) (finding case was moot where defendant amended the challenged “Sign

Code” before it had been sued); Sec’y of Labor, U.S. Dep’t of Labor v. Burger

King Corp., 955 F.2d 681, 684 (11th Cir. 1992) (finding case was not mooted by

defendant’s promise to change its employment policies “on the eve of trial”). Here,



                                          11
       Case 5:18-cv-01111-AKK Document 34 Filed 05/01/19 Page 12 of 14



the Defendants contend that they experienced a “genuine change of heart,”

evidenced by Wilson’s purported instructions to store employees, immediately

following the incident, that employees cannot demand that potential customers

provide documentation for service animals. Docs. 18 at 12; 17-1 ¶ 9. Both Wilson

and Chaffin aver that they learned that such requests are illegal from Chief Long,

who allegedly told them this after arriving on scene. Docs. 17-1 ¶ 7; 17-2 ¶ 7.

However, Mrs. Smith disputes this assertion, contending that Chief Long stated

that the City Attorney had told Chief Long that the Defendants and the police

could request documentation for service animals. Doc. 31-1 ¶ 14. Even if true, this

dispute regarding what Chief Long stated does not undermine the Defendants’

assertion that, after the Smiths left their facility, they immediately changed their

discriminatory policies and trained their employees accordingly.

             3. Whether the Defendants Have Acknowledged Liability

      It is clear that the Defendants have acknowledged liability for illegally

demanding proof that Sassy was a service animal. Docs. 17-1 ¶¶ 6-8; 17-2 ¶¶ 4-6;

see 28 C.F.R. § 36.302(c)(6) (“A public accommodation shall not require

documentation, such as proof that the animal has been certified, trained, or licensed

as a service animal.”). However, this is just one aspect of Mrs. Smith’s claim.

Relevant here, the Defendants have not admitted to purportedly demanding that

Mrs. Smith remain at the store’s entrance even after Mr. Smith provided the



                                         12
        Case 5:18-cv-01111-AKK Document 34 Filed 05/01/19 Page 13 of 14



service animal registration, docs. 17-1 ¶ 8; 17-2 ¶ 8; see docs. 1 ¶¶ 27-28; 31-1 ¶¶

17-18. Contrary to the Defendants’ contention, the alleged demand that Mrs. Smith

remain at the store entrance is relevant to Mrs. Smith’s ADA claim that the

Defendants discriminated against her by excluding her and her service animal from

areas of the store accessible to the general public and thereby denying her equal

access to the store. 8 See 28 C.F.R. § 36.302(c)(7). Because the Defendants’ have

failed to admit to this alleged discriminatory conduct, they have not met their

burden with respect to the third Sheely factor.

                              CONCLUSION AND ORDER

       To close, because the court must make “factual determinations decisive of

[this] motion to dismiss for lack of jurisdiction,” the court “must give the plaintiff

an opportunity for discovery and for a hearing that is appropriate to the nature of

the motion to dismiss.” Williamson, 645 F.2d at 413; see Eaton v. Dorchester Dev.,

Inc., 692 F.2d 727, 731 (11th Cir. 1982) (reversing the district court’s dismissal for

lack of subject matter jurisdiction because “Plaintiff must be given an opportunity

8
  The parties also dispute whether the alleged ADA violations create multiple causes of action.
See docs. 1 at 5-24; 31 at 7-11; 33 at 5-6. Given that Title III only permits private actions for
injunctive relief and attorney’s fees, and the alleged violations arose from a single incident of
discrimination, the court concludes that the alleged conduct gives rise to a single cause of action
for injunctive relief and attorney’s fees. See Houston v. Marod Supermarkets, Inc., 733 F.3d
1323, 1329 (11th Cir. 2013) (noting that Title III of the ADA only permits a private plaintiff to
seek injunctive relief) (citing 42 U.S.C. 12188(a)); 42 U.S.C. § 12205 (authorizing recovery of
attorney’s fees for ADA Title III actions); White v. Divine Investments Inc., 286 F. App’x 344,
346 (9th Cir. 2008) (rejecting plaintiff’s contention that § 12182(a) “creat[ed] two separate
causes of action, one for a failure to remove architectural barriers and another for a violation of
the right to ‘full and equal enjoyment’ of a public accommodation.”).


                                                13
       Case 5:18-cv-01111-AKK Document 34 Filed 05/01/19 Page 14 of 14



to develop facts sufficient to support a determination on the issue of jurisdiction.”).

Therefore, in light of the Defendants’ failure to satisfy the first and third factors of

the relevant inquiry, the court cannot conclude at this time that it is “absolutely

clear that the allegedly wrongful behavior could not reasonably be expected to

recur.” Laidlaw, 528 U.S. at 189. Consequently, the motion, doc. 17, is DENIED

WITHOUT PREJUDICE, and the parties’ respective motions for extensions,

docs. 27 and 32, are MOOT.

      The parties have 60 days to conduct discovery on the jurisdictional issues

raised by the Defendants. This matter is SET for an EVIDENTIARY HEARING

at 3:30 p.m. on July 17, 2019 at the Federal Courthouse in Huntsville, Alabama on

the issue of mootness.

      DONE the 1st day of May, 2019.


                                        _________________________________
                                                 ABDUL K. KALLON
                                          UNITED STATES DISTRICT JUDGE




                                          14
